
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. WR-78,781-01






EX PARTE JASON MIDDLETON, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS

CAUSE NO. 10CR1404

IN THE 212TH JUDICIAL DISTRICT COURT FROM GALVESTON COUNTY





	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and was sentenced to ten months' imprisonment in a state jail facility.

	Applicant contends that his due process rights were violated because a forensic scientist did
not follow accepted standards when analyzing evidence in his case.  He alleges that a Texas
Department of Public Safety (DPS) investigation supports his claim.  The State and trial court agree
that Applicant is entitled to relief.  However, this sentence has discharged and Applicant has not 


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alleged any collateral consequences from the conviction.  To obtain habeas relief, an applicant must
be restrained in his liberty.  Tex. Code Crim. Pro. Art. 11.01.  Applicant has not made any 


allegation that he is confined. Ex parte Harrington, 310 S.W.3d 452 (Tex. Crim. App. 2010).  This 


application is therefore dismissed.




Filed:  April 17, 2013

Do not publish  


